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ROGER JEWELL ”___ ¢‘.f;.~'.;,é.z:‘t/ED w COPY
316 N. Avenue A, #82 2
Casa Grande, AZ 85122 APR 2 9 2913 /
(520) 251-5230 , _$ n

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larogerO@yahoo.com b 'r:)z:\:mc“r :'JF-' Ar-».¢zc)mA
Plaintiff, Pro Se n ;>.); »'w';f»’.) ;'"'

 

UNI'I`ED STATES DISTRICT COURT

DISTRICT OF ARIZONA
ROGER .]EWELL, an individual, ) CASE NO. CV-13-00522-PHX-SRB
)
Plaintiff, ) DISMISSAL
)
vs. )
)
FIGI’S, INC., a oorporation, and QWEST )
COMMUNICATIONS, etc., et al, )
)
Defendants. )

 

PLEASE TAKE NOTICE that Plaintiff ROGER JEWELL hereby dismisses his

case against all defendants in entirety with prejudice

Respy!!`iued, /// /X ' /3

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